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          EXHIBIT A
Case 2:20-cv-06298-RGK-E Document 39-3 Filed 09/25/20 Page 2 of 2 Page ID #:404


  From:              Jo Ardalan
  To:                Robert Tauler; Robert Kohn
  Cc:                Peter Perkowski; Peter Afrasiabi (pafrasiabi@onellp.com); David Quinto
  Subject:           Service on Splash - wrong entity
  Date:              Thursday, August 6, 2020 5:22:00 PM
  Importance:        High


  Rob,

  With respect to Splash, you served the wrong entity. As stated in the SOS records, the agent for
  service of process is Northwest Registered Agent, Inc. Your own proof of service reflects that you
  served Corporation Service Company.

  Please confirm you will file an errata by no later than tomorrow and properly serve Splash.

  Regardless, I am stunned that considering Splash only learned of your purported service today that
  you would refuse to give Splash a short extension so that Defendants could file their motion to
  dismiss jointly. The Agencies gave you the courtesy of shortening the 7-3 requirement from 7 days
  to 1 day for your motion to dismiss in the other action. Further, the Agencies made a very
  reasonable proposal that would result in your client getting its account back up and narrowing the
  issues which would save a tremendous amount of fees for both sides and judicial resources. You
  rejected the proposal before even discussing it with your client. And, our cooperation didn’t stop
  you from raising an objection to the Agencies meeting and conferring with you six days before filing
  our motion. In the same breath, you acknowledged that meeting and conferring was futile because
  you see no merit in our positions and that you would not reconsider EntTech’s claims. As such, I have
  a hard time understanding how you could object to the Agencies’ meet and confer efforts.

  We hope that you take appropriate efforts with respect to Splash’s service.

  Jo



  --
  Jo Ardalan
  Partner

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